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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,             )          Case No. 23-cr-80101- CANNON
                                        )
                    Plaintiff,          )
                                        )
  v.                                    )
                                        )
                                        )
  WALTINE NAUTA, and                    )
  CARLOS DE OLIVEIRA,                   )
                                        )
                    Defendants.         )


                 DEFENDANTS’ MOTION FOR FURTHER STAY IN
                 LIGHT OF ONGOING APPELLATE PROCEEDINGS




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              Waltine Nauta                 Carlos De Oliveira
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         Defendants, through undersigned counsel, hereby move for an order further providing that

  the Court’s January 7, 2025 Order (DE:682), maintaining the status quo pending the resolution of

  proceedings on a separate appellate motion for emergency relief, continues in effect pending

  resolution of all appellate matters arising from such appellate litigation. Alternatively, Defendants

  request that this Court extend its present status quo order to such time as this Court resolves the

  Defendants’ pending emergency request for injunctive relief. Defendants state the following

  grounds in support of this motion:

         1. This Court on January 7, 2025, entered an order temporarily restraining Attorney

             General Garland, the Department of Justice, Special Counsel Smith, all of their officers,

             agents, and employees, and all persons acting in active concert or participation with

             such individuals from (a) releasing, sharing, or transmitting the Final Report or any

             drafts of such Report outside the Department of Justice, or (b) otherwise releasing,

             distributing, conveying, or sharing with anyone outside the Department of Justice any

             information or conclusions in the Final Report or in drafts thereof. DE:682 at 2.

         2. This Court ordered that the stay would remain in effect until three (3) days after

             resolution by the Eleventh Circuit of a separate appellate motion for injunction, unless

             the Eleventh Circuit were to rule that the stay should not continue. Id.

         3. In its response to the appellate emergency motion for relief that was filed in the

             government’s pending direct appeal as to these Defendants in the Eleventh Circuit, the

             government proposed releasing Volume I of the Final Report 1 to the public, and Volume

             II of the Final Report, which contains confidential information regarding this pending



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   The Government has not provided the defense with even limited access to Volume I of the Report.
  Court review of both Volumes is warranted in case. Volume I contains information that bears on
  this pending criminal case.


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           criminal matter, to the chairmen and ranking members of the House and Senate

           Judiciary Committees, subject to redactions determined only by the Department of

           Justice, without any court process by which the Defendants could lodge objections to:

           release of certain portions of the Report; the conditions under which the Report was

           released; and whether any version of the Report could be released in light of the

           unconstitutional nature of the Special Counsel appointment and the still-pending nature

           of the criminal case.

        4. Defendants argued in reply as to the appellate motion that the dispute over release of

           the Final Report, and particularly the Government’s proposed specialized release to

           Congress, has raised inherently fact-bound questions properly resolved by this Court,

           particularly because this Court will preside over any criminal trial in this matter and

           this Court has previously presided over significant related litigation addressing

           privilege, suppression, grand jury materials, discovery disclosure, protective orders,

           and admissibility of evidence at trial. The Government’s proposed course of action

           presents factual disputes including, but not limited to: whether the Special Counsel’s

           investigation has, in fact, “concluded” and thereby triggered the notice requirement of

           28 C.F.R. § 600.9(a)(3); the likelihood of public disclosure if the Report is shared with

           Congress; the appropriate level of redaction if the Report is shared; whether members

           of Congress who view the Report may say anything about the case or the Report

           publicly; whether members of Congress may disclose to their staff the contents of the

           Report or their reactions thereto; whether the Defendants are still bound by any

           protective order if the dissemination results in the Defendants’ being tried in the court

           of public opinion; and whether there is any recourse if confidentiality is violated.




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        5. Indeed, as Defendants also pointed out in their Eleventh Circuit briefing, neither this

           Court nor the Executive Branch can bind Congress. Once the Report is disclosed to

           Congress, this Court will effectively lose its ability to control the flow of information

           related to privileged and confidential matters in a criminal proceeding. That makes

           delaying the issuance of the Final Report until this matter is resolved essential, as there

           will be no way to put the proverbial cat back into the bag after the Final Report is shared

           with Congress, and no way to control congressional speech regarding the pending

           criminal case.

        6. The Eleventh Circuit on January 9, 2025, issued an order denying the Defendants’

           appellate request for injunctive relief by that court, and stated its reasoning as follows:

           “To the extent that Appellant [the Government] seeks relief from the district court’s

           January 7, 2025, order temporarily enjoining Appellant, Appellant may file a notice of

           appeal from that order.” App. Doc. 100-2. By so stating, the Eleventh Circuit clearly

           signaled that it views the questions raised by this dispute as properly before this Court

           in the first instance, and falling well within this Court’s jurisdiction to enforce its own

           orders. The Government literally asked the Eleventh Circuit to vacate the January 7,

           2025 Order, and the Eleventh Circuit refused to do so. For practical purposes,

           Defendants argument in the Eleventh Circuit that the matter belongs initially in this

           Court prevailed, notwithstanding the Government’s mischaracterization of the

           Eleventh Circuit’s Order. Indeed, Defendants argued in the Eleventh Circuit that this

           Court had jurisdiction over the emergency request for relief, and that this matter was

           properly left to the sound discretion of this Court. See United States v. Ellsworth, 814

           F.3d 613, 614 (11th Cir. 1987). See Defendant’s Reply Memorandum, Doc. 93 at 8-9.




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           The Eleventh Circuit’s order is thus fairly read as denying the emergency relief because,

           as in Ellsworth, in its view it had “no jurisdiction to rule on its merits” of a question

           “which must be directed to the district court.” Ellsworth, 814 F.2d at 614.

        7. Because the Eleventh Circuit resolved Defendants’ Emergency Motion, the clock on

           this Court’s January 7, 2025, Order has begun to run. The temporary enjoinment

           imposed by this Court is set to expire on and the end of the day on Monday, January

           13, 2025, pursuant Fed. R. Crim. Proc. 45(a).

        8. Since the Eleventh Circuit’s order was issued, the Government has filed an improper

           appeal of the temporary status quo order imposed by this Court, while recognizing in a

           notice filed with the Eleventh Circuit that appellate jurisdiction may be lacking. See

           App. Doc. 101 at 2 n. 1.

        9. The Government has also filed a purported “notice” in the Eleventh Circuit on January

           10, 2025, seeking relief in the nature of a motion requesting rehearing of the resolution

           of the appellate request for injunctive relief (albeit without complying with motion or

           rehearing rules). The Government’s request for rehearing and the Government’s notice

           of appeal reveal that the Government too reads the Eleventh Circuit’s denial order as

           leaving the factual questions to this Court.

        10. Defendants therefore request that this Court extend the temporary restraining order to

           allow this Court to order briefing on and to hold a hearing and to rule on the merits of

           Defendants’ pending emergency request for injunctive relief, the motion for

           intervention, and any response by the Government. This Court presides over the

           criminal matter and is best suited to resolve the questions presented by Defendants’

           request for injunctive relief. Though an appeal of the Court’s current Order is pending,




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           the questions presented by the emergency motion do not bear on the merits of the

           appeal—rather, the core issues are whether the Special Counsel actions in preparing

           the Final Report violated this Court’s Order of Dismissal (from which no stay has been

           sought); whether that precludes the Attorney General from releasing the report to

           Congress; and whether confidential information (including privileged material, grand

           jury material, and other evidence in a criminal case) is permissibly released to Congress

           while this case is still pending.

        11. Extension of the temporary enjoinment is warranted based on the Government’s

           attempts to extend litigation in the Eleventh Circuit. Extension of the temporary stay

           is also warranted to allow this Court to hold a hearing and to rule on the emergency

           motion filed in this Court.

        12. Based on the Eleventh Circuit’s ruling, Defendants ask this Court to extend the stay, to

           give it time to hold a hearing and to rule on the defense request for injunctive relief.

        13. Extension of the stay is essential to protect due process interests. Press reporting on

           the Eleventh Circuit’s Order has already misreported the contents of that order, see,

           e.g., Sareen Habeshian, Smith’s Final Report on Trump Cases Can Be Released,

           Appeals     Court     Says,    Axios.com      (January     9,   2025),     available       at

           https://www.axios.com/2025/01/10/trump-appeals-court-jack-smith-report                 (last

           accessed January 10, 2025). If there is already a flow of misinformation about the

           propriety of release of report, it is certainly reasonable to expect a flow of

           misinformation if the Report is released to Congress. And that flow of information will

           violate Defendants’ due process rights to a fair trial. This Court should thus act to

           preserve the status quo, and to ensure that any release of any information related to a




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            pending criminal trial—if it is permissible in the first instance—is only done pursuant

            to an orderly court process. The government’s hailstorm of frantic filings seeks to

            release this Report as soon as possible, at any cost to the individual due process interests

            of these criminal defendants. But that approach risks lengthening and complicating

            judicial process by raising the substantial possibility that Defendants are back before

            this Court following an impermissible leak of material. Once highly privileged and

            highly confidential information enters the public domain—as a result of the politically

            motivated eleventh-hour haste of the Executive Branch and the disqualified Special

            Counsel—it will be impossible to cure the constitutional rights violation that results.

            This Court should therefore take steps to ensure an orderly process in the face of the

            Executive Branch and the unauthorized Special Counsel doing everything it can to

            disrupt order, disrupt process, and divert from this Court the responsibility to oversee

            the criminal trial.

        WHEREFORE, Defendants Waltine Nauta and Carlos De Oliveira ask this Court to extend

        its temporary enjoinment restraining the DOJ from distributing, sharing or otherwise

        disclosing the Report until and at which time this Court has ruled on Defendants’ request

        for injunctive relief.




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  Dated: January 10, 2025           Respectfully submitted:


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